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                                                                        Friday, 03 April, 2020 03:23:56 PM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

MAVIDEA TECHNOLOGY                          )
GROUP, LLC                                  )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )      Case No.       1:20-CV-1139
                                            )
JAMIE WARMBIR; CHARLOTTE                    )
WARMBIR; WARMBIR IT                         )
SOLUTIONS, LLC, an Illinois limited         )
liability company;                          )      JURY TRIAL REQUESTED
                                            )
               Defendants.                  )




                                        COMPLAINT

       NOW COMES the Plaintiff, MAVIDEA TECHNOLOGY CROUP, LLC, an Illinois

limited liability company (“Plaintiff” or “Mavidea”), for its Complaint against JAMIE

WARMBIR, individually, CHARLOTTE WARMBIR, individually, and WARMBIR IT

SOLUTIONS, LLC, an Illinois limited liability company (“Warmbir IT”), respectfully states to

the Court as follows:

                               JURISDICTION AND VENUE

       1) This Court has subject matter jurisdiction over this action under 28 U.S.C. §§1331 and

1367. The Court has federal question jurisdiction because Mavidea asserts claims under the

Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §1836, et. seq.

       2) The Court has supplemental jurisdiction over all claims for which the Court lacks

original jurisdiction because Mavidea’s claims arise out of the same common nucleus of
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operative facts, namely, Defendants improper and illegal actions immediately before and after

Jamie Warmbir’s separation from Mavidea.

        3) This Court has general jurisdiction over Jamie Warmbir and Charlotte Warmbir as

they are individuals domiciled in the State of Illinois.

        4) This Court has general personal jurisdiction over Warmbir IT as it is an entity 1)

formed under the laws of the State of Illinois, 2) maintains its principal place of business in the

State of Illinois, 3) regularly conducts business in the State of Illinois.

        5) Venue is proper in this District and Division pursuant to 28 U.S.C. §1391 because a

substantial part of the events or omissions giving rise to this action took place in this District and

Division, the Defendants are all domiciled in this District and Division, Mavidea’s principal

place of business is in this District and Division, and the harm is felt in this District and Division.

                                           THE PARTIES

        6) Mavidea is an Illinois limited liability company with its principal place of business

located at 14170 Carole Dr., Bloomington, Illinois. Mavidea is, and at all times mentioned was,

authorized to conduct business in the State of Illinois.

        7) Jamie Warmbir is an individual residing at 22 Pendleton Way, Bloomington, Illinois.

        8) Charlotte Warmbir is an individual residing at 22 Pendleton Way, Bloomington,

Illinois and is the spouse of Jamie Warmbir.

        9) Warmbir IT is an Illinois limited liability company with its principal place of business

located at 22 Pendleton Way, Bloomington, Illinois.
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                                            FACTS

       10) Mavidea was formed on April 18, 2007 in the State of Illinois as a domestic

manager-managed limited liability company. Mavidea is engaged in the business of IT

Solutions, software development, digital marketing and website design.

       11) Warmbir Technology Incorporated, an entity wholly owned by Jamie Warmbir, was

an original member of Mavidea. Jamie Warmbir was originally named as a manager of Mavidea

and served as a manager until February 10, 2020.

       12) From inception until February 10, 2020, Jamie Warmbir served as an officer of

Mavidea.

       13) From inception until February 10, 2020, Jamie Warmbir led the Information

Technology business at Mavidea.

       14) Jamie Warmbir provided these services on a full-time basis and was the highest paid

individual with Mavidea at of February 10, 2020.

                                Mavidea’s Operating Agreement

       15) In 2018 and 2019, the members and managers of Mavidea undertook a deliberative

process to amend their operating agreement, which resulted in a fully executed agreement dated

April 17, 2019 (attached hereto as Exhibit “A” and is referred to as “Operating Agreement”

herein).

       16) The Operating Agreement under paragraph 1.8 held “The Members shall use the

Company’s credit and assets solely for the benefit of the Company.”

       17) The Operating Agreement holds, in part, under Paragraph 5.3:

                5.3 Restrictions on Authority of the Managers. Without the Consent of the
                Members, the Managers shall not have the authority to:

                       (i) do any act in contravention of this Agreement;…
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                      (ii) do any act which would make it impossible to carry on the ordinary
                      business of the Company, except as otherwise provided in this
                      Agreement;…

                      (iv) possess Property, or assign rights in specific Property, for other than a
                      Company purpose;

       18) The Operating Agreement under Paragraph 5.4 imposed the following obligations on

Managers:

               5.4 Duties and Obligations of the Managers

               (a) The Managers shall take all actions on behalf of the Company which may be
               necessary or appropriate… (ii) for the accomplishment of the Company’s
               purposes, including the acquisition, development, maintenance, preservation, and
               operation of Property in accordance with the provisions of this Agreement, the
               Act, and all other applicable laws and regulations…

               (c) The Managers shall conduct the affairs of the Company in the best interests of
               the Company and of the Members, including the safekeeping and use of all of the
               Property for the exclusive benefit of the Company.

       19) Paragraph 1.9 of the Operating Agreement defined “Property” to mean: “… all real

and personal property acquired by the Company and any improvements thereto, and shall include

both tangible and intangible property.”

       20) Some of the members/managers were members of other entrepreneurial ventures and

wanted the operating agreement to reflect that their participation in such ventures would not be

viewed as a breach of their fiduciary duty. Thus, while the Operating Agreement required any

Manager to use any intangible property created or acquired by Mavidea for the “exclusive

benefit of the Company,” Paragraph 1.7 indicated that a Manager would not be required to offer

the stock of any new independent or competing venture back to Mavidea providing the

manager/member respected the intangible property interests of Mavidea under Section 5.3.
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       21) The Operating Agreement did not further modify the statutory or common law

fiduciary duties of the members or managers. Thus, any fiduciary duty imposed by statute or

common law that was not modified by Paragraph 1.7 remained in full effect.

       22) Paragraph 10.9 of the Operating Agreement indicated that each Member irrevocably

waives any right to partition any of the company’s Property.

                                        Mavidea’s Business

       23) Mavidea has provided Information Technology services since its inception, although

the business model has changed over time. At all times relevant herein, Mavidea used a

“managed services” business model where Mavidea would serve businesses throughout central

Illinois by entering into a contract with them. The customer would pay a monthly base fee which

would include a “scope” of services that Mavidea would provide. In most cases, Mavidea would

undergo a significant amount of upfront labor to understand the customer’s existing computer

system and implement the software needed to properly service the contract, with the goal being

that the monthly fee later in the contract would cover these initial expenses.

       24) Locating customers that are in need of essentially outsourcing their IT department is

a difficult task. Mavidea needs to identify businesses that do not have a full time IT person or

department, but have significant enough IT needs to require regular servicing. Mavidea also

requires that the customer’s business culture and integrity be consistent with their own. As a

result, Mavidea employs a full-time employee to call small businesses all over Central Illinois

just to find prospects that meet Mavidea’s selection criteria.

       25) In 2019, Mavidea made 17,516 phone calls to prospective customers, which led to

1,635 conversations and 87 first time meeting appointments being accepted. Of those 87

meeting appointments, Mavidea further investigated the prospects and completed 57 of those
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appointments. Out of the 57 meetings, 11 of the prospects were added as potential clients that

Mavidea would like to do business with. Of those 11 potential clients, Mavidea actually signed

contracts with three in the 2019 fiscal year. Mavidea maintains a confidential detailed database

of the information it has learned through this sales cycle.

       26) As the director of the IT Department, Jamie Warmbir, at all times, relevant herein,

had access to this database and would be the individual that would qualify and meet with those in

the final stages of the sales cycle. Jamie Warmbir would also negotiate and sign the contracts

with these businesses. As a result of his role, he had access to critical proprietary information

concerning the identity, pricing terms, contract lengths and services included for each customer

of Mavidea. He also had access to and regularly reviewed the proprietary underlying data

concerning how much labor and costs had been expended for each contract. As a result, he

understood the profitability of each customer and the cost it would take to service each contract.

                                     Jamie Warmbir’s Actions

       27) At various times in 2019, the other managers of Mavidea noticed that Jamie

Warmbir appeared to be of general discontent. In October, 2019, the other managers had a

meeting with Jamie Warmbir to discuss the discontentment and to see what improvement could

be made. From these discussions, the other managers indicated to Jamie Wambir that they did

not have an interest in selling the IT division of Mavidea to him, but that they would be open to

discuss other possibilities of a departure for him if he desired. Jamie Warmbir’s wife, Charlotte

Warmbir, discussed with the managers some of the reason for discontentment. On October 14,

2019, Jamie Warmbir tendered a “Statement of Contentment” to the other managers affirming

that he wanted to continue to be on the team.
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        28) Shortly thereafter, however, Jamie Warmbir devised a scheme to forcibly take the IT

Division from Mavidea by taking Mavidea’s clients and employees in the event the managers of

Mavidea would not sell it to him for the price he dictated.

        29) Jamie Warmbir concealed these intentions for months from the other Managers

which enabled him a) learn additional confidential information from the company and its

managers, b) further exploit the confidential information / Property of the Plaintiff, c) obtain an

appraisal of Mavidea’s IT business, d) meet with his attorney and other advisors to prepare for

his new venture, e) put himself in a position with the employees of Mavidea to convert them to

his new venture, f) identify and cultivate prospective clients that could be signed up by his new

venture, and g) take other actions to prepare for the start of his new venture that are still being

investigated.

        30) Additionally, Jamie Warmbir failed to follow the standard practice of Mavidea by

either a) failing to procure non-competition agreements or b) destroying existing non-

competition agreements with the two employees under his supervision that he most desired to

come to his new business.

        31) To the information and belief of the Plaintiff, Jamie Warmbir memorized or

otherwise recorded the Plaintiff’s customer list, contract term dates, pricing data, and other

customer information that was confidential information, trade secrets, and Property of the

Plaintiff.

        32) To the information and belief of the Plaintiff, Jamie Warmbir memorized or

otherwise recorded the Plaintiff’s prospective customer list, proposed pricing data, and other

prospective customer information that was the confidential information, trade secrets, and

Property of the Plaintiff.
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       33) Jamie Warmbir allowed appointments to be set up with prospective or existing

customers past his resignation date in which he knew he could take advantage of after leaving.

These appointments were confidential information, trade secrets, and Property of the Plaintiff;

       34) To the information and belief of the Plaintiff, Jamie Warmbir recruited his spouse,

Charlotte Warmbir, to assist him in making preparations for his new business;

       35) Jamie Warmbir accumulated additional contacts and proprietary company

information on the phone that he wrongfully intended to take with him after leaving Mavidea;

       36) Jamie Warmbir delayed the signing of new clients so that he would not be

encumbered by a Mavidea contract when starting his new venture,

       37) Jamie Warmbir forwarded the confidential resume and an email dialogue with a

prospective employee to his own personal email account so that he could utilize the information

for his new company;

       38) Without permission, Jamie Warmbir released Plaintiff’s confidential financial

information to an appraiser for his own purposes in furtherance of the scheme.

       39) On February 10, 2020 Jamie Warmbir set his plan into action, relinquishing his

authority to act as a manager/agent of Mavidea. He informed the remaining managers that they

had the next four business days to either 1) sell the IT Division to him for the price that he

demanded, or 2) that he take would take the customers and employees without paying them

anything for it. He informed them that his new competing business was ready to service

customers immediately after any denial to sell it to him at his price.

       40) On February 14, 2020, the remaining managers informed Jamie Warmbir that the

Company would not be accepting his offer and that he would need to tender any of Mavidea’s

Property back to the Company on that day.
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       41) After learning that the Company wanted his phone and phone number back, he

secretly contacted Verizon and posed as an Agent of Mavidea, even though he had already

resigned such authority. He requested that Verizon transfer the telephone number from the

account that Mavidea owned to a personal account that only he was in control of.

       42) The telephone number that Jamie Warmbir used as his cell phone number was the

point of contact for many customers and prospective customers of the IT Division. By

converting the phone number to his own use, this has enabled Jamie Warmbir to wrongfully

receive inquiries from the Company’s customers, prospective customers, employees, and other

third parties to divert Company Property for his own use in furtherance of his original scheme.

       43) On the next business day, Jamie Warmbir announced that he and his wife were

opening a new business called “Warmbir IT Solutions, LLC” and that he welcomed new clients.

       44) Jamie Warmbir immediately undertook an effort to have the employees he

supervised at Mavidea terminate their employment and come to his new venture. He was enable

to shortcut his search for employees and enhance any offers to them by using the names,

backgrounds, salary history. By short-cutting the normal search, it is believed his intentions

were to quickly dismantle Mavidea’s ability to provide service to its customers, enhancing his

ability to pitch to Mavidea’s customers that they would be better off terminating their contract

and signing up with his business;

       45) Within a couple of weeks, Jamie Warmbir had hired the two employees that he had

either 1) failed to obtain a non-competition agreement for or 2) destroyed a non-competition

agreement while he supervised them.

       46) Jamie Warmbir allowed the services of a third party to reach out and contact some

employees so that he could attempt to deny knowledge of the activities.
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       47) Shortly thereafter, he encouraged another Mavidea employee to cease employment at

Mavidea and join his competing company. Said employee gave notice to Mavidea that he was

leaving for this purpose on March 26, 2020. Jamie Warmbir had prepared and executed the non-

competition agreement on behalf of Mavidea with this employee on September 23, 2019, fully

knowing that said contract contained the following provisions:

              7(d) Employee shall not, following the termination of his/her employment with
              Mavidea, either directly or indirectly, or by action in concert with others, either
              for Employee’s own benefit or for the benefit of any other person or entity:

                      (i) Make known to any person the names, address or telephone numbers
                      or any of the client candidates, clients, projects, contracts, designs,
                      specifications or plans of Mavidea or any other Trade Secrets and/or
                      Confidential Information pertaining to them;

                      (ii) For a period of twelve (12) months following the termination of
                      Employee’s employment with Mavidea Technology Group, LLC, call on,
                      solicit, divert, interfere with or take away, or attempt to call on, solicit,
                      divert, interfere with or take away any of the projects, clients, client
                      candidates, employees, employee candidates, or consultants of Mavidea,
                      including without limitation all those clients, client candidates, employees,
                      employee candidates, consultants and/or projects with whom Employee
                      became acquainted during his/her employment with Mavidea, either for
                      Employee’s own benefit or for the benefit of any other person or entity;

                      (iii) Induce in any way, directly or indirectly, Mavidea’s employees
                      and/or persons working with and/or contracting with Mavidea, to disclose
                      Mavidea’s Trade Secrets and/or Confidential Information to any person;

                      (iv) For a period of twelve (12) months following the termination of
                      Employee’s employment with Mavidea, hire or take away, or attempt to
                      hire or take away, any of Mavidea’s employees, and/or independent
                      contractors, and/or persons working with and/or contracting with
                      Mavidea; and

                      (v) For a period of twelve (12) months following the termination of
                      Employee’s employment with Mavidea, induce or influence (or seek to
                      induce or influence) any person who is engaged (as an employee, agent,
                      independent contractor, or otherwise) by Mavidea to terminate his or her
                      employment or engagement or to breach their duties or obligations owed
                      to Mavidea
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               (e) For the duration of this Agreement, or for a period of twelve (12) months
               following the termination of Employee’s employment with Mavidea, Employee
               shall not, directly or indirectly, either as an employee, employer, consultant,
               agent, principal, partner, stockholder, corporate officer, director or in any other
               individual or representative capacity, engage or participate in any business that is
               in competition in any manner whatsoever with the business of Mavidea, without
               the prior written consent of the Management…”

       48) Jamie Warmbir immediately upon opening his business undertook an effort, using the

customer names, backgrounds, contract terms, pricing data and other customer information, to

have Mavidea’s customers terminate their contracts with Mavidea and sign new contracts at his

new venture;

       49) Within a few short weeks, Jamie Warmbir’s efforts had resulted in eight contract

terminations with Mavidea.

       50) Jamie Warmbir immediately undertook an effort, using the prospective customer

names, backgrounds, prospective pricing data and other customer information to have Mavidea’s

prospective customers come to sign contracts with him instead of Mavidea;

       51) Within a few short weeks, Jamie Warmbir’s efforts had resulted in at least one

prospective customer signing with his company instead of Mavidea.

       52) Jamie Warmbir utilized the appointments and engagements set for him while at

Mavidea to convert these customers and prospective customers to his own business;

       53) In his attempt to convert clients, Jamie Warmbir used falsehoods about Mavidea,

such as “At Mavidea, IT is not a priority compared to other projects.”

       54) To the information and belief of the Plaintiff, he assisted customers in terminating

their contracts with the Plaintiff by providing them with suggested language to use in their

termination notice.
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       55) On or about March 11, 2020, Mavidea’s attorney sent Jamie Warmbir’s attorney a

cease and desist letter that also demanded they preserve all evidence (said letter is attached

hereto as Exhibit “B”).

       56) On or about March 16, 2020, Jamie Warmbir’s attorney tendered a response labeled

“For Settlement Purposes Only” which effectively rejected all of the Plaintiff’s assertions and

did not contain any proposal to settle the matter. The foregoing wrongful efforts have continued

without any pause.



                                            COUNT I:

           VIOLATION OF THE FEDERAL DEFEND TRADE SECRETS ACT

          AGAINST JAMIE WARMBIR AND WARMBIR IT SOLUTIONS, LLC

       57) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

       58) The Defend Trade Secrets Act (18 U.S.C. §1832) which amended the Economic

Espionage Act to add a federal civil cause of action, among other things, defines “trade secret” to

include all forms and types of financial, business or economic information, including patterns,

plans, compilations, methods, techniques, processes, procedures or programs, if (A) the owner

thereof has taken reasonable measures to keep such information secret, and (B) the information

derives independent economic value, actual or potential, from not being generally known to, and

not being readily ascertainable through proper means by, the public.

       59) During the course of his affiliation with Mavidea, Jamie Warmbir was provided

access to all of Mavidea’s trade secrets, as described herein.
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       60) Such trade secrets are developed and maintained by Mavidea at great time, cost and

expense to Mavidea, and are maintained on password protected networks accessible only by

certain Mavidea employees with need to use such information on the Company’s behalf.

       61) Mavidea’s trade secrets are not available to the general public and are closely

guarded by Mavidea. Mavidea keeps such information strictly confidential in order to maintain a

competitive advantage.

       62) Mavidea derives independent economic value from the trade secrets and confidential

information that were entrusted to Jamie Warmbir; these secrets are not generally known or

readily ascertainable by proper means by other persons who can obtain economic value from

their disclosure and use, and the information is the subject of significant efforts to maintain its

secrecy.

       63) Mavidea’s trade secrets, including the information identified herein, are trade secrets

under the DTSA, 18 U.S.C. §1832, et. seq., because Mavidea derives independent economic

value from this information not being generally known to the public, the information is not

readily ascertainable by proper means by persons who could obtain economic value from its

disclosure or use, and the information is the subject of reasonable efforts to maintain its secrecy.

       64) On information and belief, Jamie Warmbir acquired Mavidea’s trade secrets by

improper means and without authorization. On information and belief, Jamie Warmbir has failed

to return or destroy Mavidea’s trade secrets and are using or disclosing such trade secrets in

connection with Jamie Warmbir’s efforts to start a competitive business, in violation of

Mavidea’s Operating Agreement regarding the protection of Mavidea’s Property.

       65) On information and belief, Jamie Warmbir has used or disclosed and is intending to

further use and disclose, Mavidea’s confidential information and trade secrets for his benefit.
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         66) Jamie Warmbir knew or should have known that the information, as described

herein, 1) is confidential, 2) was acquired under circumstances giving rise to a duty to maintain

its secrecy or limit its use; 3) was developed or acquired by Mavidea at great expense and effort,

4) was maintained as confidential and is not generally available to the public and Mavidea’s

competitors, 5) would provide significant benefit to individuals seeking to compete with or harm

Mavidea; and 6) is critical to Mavidea’s ability to conduct its business successfully.

         67) The information that Jamie Warmbir has misappropriated or threaten to

misappropriate relates to Mavidea, which involve services that are utilized throughout interstate

commerce.

         68) Jamie Warmbir has been and will further be unjustly enriched by the

misappropriation and/or threatened misappropriation of Mavidea’s trade secrets and confidential

information, and, unless restrained, will continue to threaten to use, actually use, divulge,

inevitably disclose, acquire and/or otherwise misappropriate Mavidea’s trade secrets and

confidential information.

         69) On information and belief, Jamie Warmbir’s actual and/or threatened

misappropriation has been willful and malicious.

         70) As a result of the threatended and/or actual misappropriation of Mavidea’s trade

secrets and confidential information, Mavidea has suffered and will continue to suffer with loss

of business expectancies, customers, employees, its trade secrets and goodwill in amounts which

may be impossible to determine, unless Jamie Warmbir is enjoined and restrained by order of the

Court.

         71) In addition, Mavidea seeks, actual, incidental, compensatory, consequential

damages, along with reasonable attorneys’ fees and costs in an amount to be determined at trial.
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        72) As an actual and proximate result of Jamie Warmbir’s conduct, as alleged in this

claim for relief, Mavidea has suffered actual and consequential damages in the amount of at least

$2,778,413.00.

        73) As a further proximate result of Jamie Warmbir’s wrongful conduct and breach of

the Operating Agreement, Mavidea has been injured, irreparably and otherwise, and is threatened

with additional and ongoing injuries.

        74) Warmbir IT Solutions, LLC is an alter ego of Jamie Warmbir that was purposefully

set up by Jamie Warmbir to facilitate and undertake the wrongful actions described herein

        75) Warmbir IT Solutions, LLC should be liable and enjoined from continuing any of

these activities

        WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Jamie Warmbir and Warmbir IT Solutions, LLC, as follows:

                   a) an injunction against the Defendants requiring them to abstain from further

violations of the Federal Defend Trade Secrets Act;

                   b) for actual damages suffered by the Plaintiff in an amount not less than

        $2,778,413.00;

                   c) for interest;

                   d) for attorney’s fees and costs of suit;

                   e) for other relief the Court deems appropriate;
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                                            COUNT II:

                               BREACH OF FIDUCIARY DUTY

                                 AGAINST JAMIE WARMBIR

       76) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

       77) Jamie Warmbir, as a manager of Mavidea, owed a fiduciary duty to Mavidea and the

other Members and Managers of Mavidea.

       78) Such fiduciary duties exist both before and after Jamie Warmbir’s departure from the

Company.

       79) Jamie Warmbir breached his fiduciary duties to Mavidea prior to his resignation by :

                A) After making the decision to leave Mavidea, he concealed his intentions from

the other Managers which enabled him to a) learn additional confidential information from the

company and its managers, b) further exploit the Property of the Plaintiff, c) obtain an appraisal

of Mavidea’s IT business, d) meet with his attorney and other advisors to prepare for his new

venture, e) put himself in a position with the employees of the company to convert them to his

new venture, f) identify and cultivate prospective clients that could be signed up by his new

venture, and g) take other actions to prepare for the start of his new venture that are still being

investigated.

                B) Failing to follow the standard practice of Mavidea by either a) failing to

procure non-competition agreements or b) destroying existing non-competition agreements with

the two employees under his supervision that he most desired to come to his new business.
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               C) To the information and belief of the Plaintiff, memorizing or otherwise

recording the Plaintiff’s customer list, contract term dates, pricing data, and other customer

information.

               D) To the information and belief of the Plaintiff, memorizing or otherwise

recording the Plaintiff’s prospective customer list, proposed pricing data, and other prospective

customer information;

               E) Allowing appointments to be set up with prospective or existing customers past

his resignation date in which he knew he could take advantage of after leaving;

               F) Recruiting his spouse, Charlotte Warmbir, to assist him in making preparations

for his new business;

               G) Accumulate additional contacts and proprietary company information on the

phone that he wrongfully intended to take with him after starting his competing business;

               H) Delay the signing of new clients so that he would not be encumbered by a

Mavidea contract when starting his new venture,

               I) Forwarded the confidential resume and an email dialogue with a prospective

employee to his own personal email account so that he could utilize the information for his new

company;

               J) Released Mavidea’s financial information to third parties without consent;

       80) All such actions were intentionally designed so that Jamie Warmbir could

immediately have his business up and running after resigning as Manager, as well as give as little

warning to Mavidea as possible that might enable to company to enact counter-measures to

protect its intangible property.
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       81) Jamie Warmbir’s fiduciary duties did not end at the time he resigned his position as

Manager. Jamie Warmbir’s fiduciary duties to Mavidea continue to this day.

       82) Jamie breached his fiduciary duties after leaving Mavidea by using the confidential

information and Mavidea Property he obtained while at Mavidea:

                 A) He immediately undertook an effort to have the employees he supervised at

Mavidea terminate their employment and come to his new venture. He was enable to shortcut

his search for employees and enhance any offers to them by using the names, backgrounds,

salary history. By short-cutting the normal search, it is believed his intentions were to quickly

dismantle Mavidea’s ability to provide service to its customers, enhancing his ability to pitch to

Mavidea’s customers that they would be better off terminating their contract and signing up with

his business ;

                 B) He immediately undertook an effort, using the customer names, backgrounds,

contract terms, pricing data and other customer information, to have Mavidea’s customers

terminate their contracts with Mavidea and sign new contracts at his new venture;

                 C) He immediately undertook an effort, using the prospective customer names,

backgrounds, prospective pricing data and other customer information to have Mavidea’s

prospective customers come to sign contracts with him instead of Mavidea;

                 D) He utilized the appointments and engagements set for him while at Mavidea to

convert customers and prospective customers to his own business;

                 E) He used falsehoods, such as “At Mavidea, IT is not a priority compared to

other things.”

                 F) After resigning his manager position and being requested to turn his phone

over to the company by the other managers, he wrongfully posed himself to be an agent of
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Mavidea and effectuated a transfer of the Company’s telephone number to an account in his own

name that Mavidea had no authority over;

                G) To the information and belief of the Plaintiff, he assisted customers in

terminating their contracts with the Plaintiff by giving them the language to use in their

termination notice;

                (H) He encouraged and directly caused a Mavidea employee to undertake an

action that would knowingly be in violation of his employment agreement;

        83) These wrongful actions have caused the following damages to Mavidea:

                A) The Defendants have caused at least eight customers to cancel their contracts

with the Plaintiff;

                B) The Defendants have caused two employees to terminate their employment

with the Plaintiff and one employee to give his notice;

                C) The Defendants have caused the Plaintiffs to incur additional labor costs both

on a short term and long term basis to mitigate the damages caused by Defendants’ wrongful

actions;

                D) The Defendants have caused the Plaintiffs to not receive prospective customer

calls due to the theft of Plaintiff’s phone number by the Defendant;

                E) The Plaintiff and its Managers/Members have lost business other divisions of

the Company due to the immediate actions and attention required to mitigate damages caused by

the Defendants;

                F) The Plaintiff has had to reassign its Managers to tasks related to mitigating

damages caused by the Defendants increasing its labor costs;
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               G) The Plaintiff has lost a significant amount of money in its valuation as a going

concern;

               H) The Plaintiff has had to institute this legal action to collect damages due to the

wrongful refusal of the Defendant to pay the same. As a result, the Plaintiff has suffered a cost

related to the time value of money at its applicable borrowing rate;

               I) The Plaintiff has been required to hire attorneys to prosecute this claim, as well

as incur other costs related to the lawsuit;

               J) Additional Damages either unknown or still accumulating;

       84) The Defendant’s wrongful acts are characterized by wantonness, malice, oppression

and other circumstances of aggravation. The pattern of conduct by the defendants were

motivated by more than mere ignorance or oversight, but by personal gain.

       85) As such, the Defendant should pay punitive damages to the Plaintiff as outlined in

Estate of Wernick, 127 Ill.2d 61, 525 N.E.2d 876 (1989);

       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Jamie Warmbir, as follows:

               a) for actual damages suffered by the Plaintiff in an amount not less than

$2,778,413.00;

               b) for punitive damages in an amount to be determined;

               c) for interest;

               d) for attorney’s fees and costs of suit;

               e) for other relief the Court deems appropriate;
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                                           COUNT III:

                         BREACH OF OPERATING AGREEMENT

                                 AGAINST JAMIE WARMBIR

       86) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

       87) Jamie Warmbir knowingly and voluntarily entered into the Operating Agreement.

The Operating Agreement is a valid and enforceable contract.

       88) The Plaintiff has performed all conditions, covenants, promises and obligations

required on its part to be performed in accordance with the Operating Agreement, except for any

conditions and covenants for which performance was excused or prevented by the Defendant.

       89) The definition of property in Paragraph 1.9 of the Operating Agreement includes any

intangible property.

       90) The inclusion of the broad term “intangible property” infers a much more expansive

interpretation than the items covered by the Illinois Trade Secret Act or the Federal Defend

Trade Secrets Act.

       91) Black’s Law Dictionary (11th ed. 2019) defines “Intangible Property” as property that

lacks a physical existence. Examples include stock options and business goodwill.”

       92) Thus, Property, as defined in the Operating Agreement, include such items as

customer relationships, business goodwill, business know-how, employee relationships,

customer and prospective customer lists and contracts, established processes, telephone numbers,

contract terms, pricing and profitability data, and the other items referenced herein that Jamie

Warmbir misappropriated for his own use.
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       93) Paragraph 1.7 indicated that a Manager was only permitted to compete with Mavidea

in the event the intangible property interests of Mavidea under Section 5.3 were respected. If

that did not occur, Paragraph 1.7 suggests that the offending Manager should tender the stock

back to Mavidea of any new independent or competing venture, as well as account for its income

and profits.

       94) The pre-separation and post-separation actions of Jamie Warmbir referenced herein

are contrary to the terms of 1.8, 5.3 and 5.4 of the Operating Agreement.

       95) As such, Jamie Warmbir is in breach of the operating Agreement.

       96) As a further proximate result of Jamie Warmbir’s wrongful conduct and breach of

the Operating Agreement, Plaintiff has been injured, irreparably and otherwise, and is threatened

with additional and ongoing injuries.

       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Jamie Warmbir, as follows:

               a) for an Order requiring Jamie Warmbir to turn over all ownership interest in

Warmbir IT Solutions, LLC to the Plaintiff;

               b) for actual damages suffered by the Plaintiff in an amount not less than

       $2,778,413.00;

               c) for punitive damages in an amount to be determined;

               d) for interest;

               e) for attorney’s fees and costs of suit;

               f) for other relief the Court deems appropriate;
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                                           COUNT IV:

                                     CIVIL CONSPIRACY

                            AGAINST CHARLOTTE WARMBIR

        97) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

        98) Shortly after the formation of Warmbir IT Solutions, LLC, Jamie Warmbir

announced on LinkedIn that “My wife, Charlotte, will be running the business with me… We are

going to provide services to clients in the central Illinois marketplace and will be based out of

Bloomington, IL.”

        99) Charlotte Warmbir knew that Jamie Warmbir owed a fiduciary duty to the Mavidea.

        101) To the knowledge and belief of the Plaintiff, Charlotte Warmbir assisted and is

currently assisting Jamie Warmbir with the violations of law outlined in this Complaint.

        102) Charlotte Warmbir acted purposefully when she aided and abetted Jamie Warmbir’s

wrongful violations referenced herein.

        103) Charlotte Warmbir’s wrongful conduct resulted in breaches of Jamie Warmbir’s

fiduciary duties.

        104) As a direct and proximate result of Charlotte Warmbir’s wrongful actions, Mavidea

has been damaged by:

        105) These wrongful actions have caused the following damages to Mavidea:

                A) The Defendants have caused at least eight customers to cancel their contracts

with the Plaintiff;

                B) The Defendants have caused two employees to terminate their employment

with the Plaintiff and one employee to give his notice;
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               C) The Defendants have caused the Plaintiffs to incur additional labor costs both

on a short term and long term basis to mitigate the damages caused by Defendants’ wrongful

actions;

               D) The Defendants have caused the Plaintiffs to not receive prospective customer

calls due to the theft of Plaintiff’s phone number by the Defendant;

               E) The Plaintiff and its Managers/Members have lost business other divisions of

the Company due to the immediate actions and attention required to mitigate damages caused by

the Defendants;

               F) The Plaintiff has had to reassign its Managers to tasks related to mitigating

damages caused by the Defendants increasing its labor costs;

               G) The Plaintiff has lost a significant amount of money in its valuation as a going

concern;

               H) The Plaintiff has had to institute this legal action to collect damages due to the

wrongful refusal of the Defendant to pay the same. As a result, the Plaintiff has suffered a cost

related to the time value of money at its applicable borrowing rate;

               I) The Plaintiff has been required to hire attorneys to prosecute this claim, as well

as incur other costs related to the lawsuit;

               J) Additional Damages either unknown or still accumulating;

       106) The Defendant’s wrongful acts are characterized by wantonness, malice, oppression

and other circumstances of aggravation. The pattern of conduct by the defendants were

motivated by more than mere ignorance or oversight, but by personal gain.
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       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Charlotte Warmbir, as follows:

               a) for actual damages suffered by the Plaintiff in an amount not less than

       $2,778,413.00;

               b) for punitive damages in an amount to be determined;

               c) for interest;

               d) for attorney’s fees and costs of suit;

               e) for other relief the Court deems appropriate;



                                            COUNT V:

                      BREACH OF ILLINOIS TRADE SECRETS ACT

          AGAINST JAMIE WARMBIR AND WARMBIR IT SOLUTIONS, LLC

       107) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

       108) Jamie Warmbir acquired the trade secrets by improper means, namely

misappropriating by copying/memorizing the trade secrets of Mavidea after his authority was

terminated.

       109) Warmbir IT Solutions, LLC also acquired the trade secrets referenced herein by

improper means, namely by receiving the trade secrets from unauthorized party, Jamie Warmbir.

       110) Jamie Warmbir and Warmbir IT Solutions, LLC used the information without the

consent of the owner, Mavidea.
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        111) By using the information, Jamie Warmbir and Warmbir IT Solutions, LLC have

caused injury to the Plaintiff. These wrongful actions have caused the following damages to

Mavidea:

                A) The Defendants have caused at least eight customers to cancel their contracts

with the Plaintiff;

                B) The Defendants have caused two employees to terminate their employment

with the Plaintiff and one employee to give his notice;

                C) The Defendants have caused the Plaintiffs to incur additional labor costs both

on a short term and long term basis to mitigate the damages caused by Defendants’ wrongful

actions;

                D) The Defendants have caused the Plaintiffs to not receive prospective customer

calls due to the theft of Plaintiff’s phone number by the Defendant;

                E) The Plaintiff and its Managers/Members have lost business other divisions of

the Company due to the immediate actions and attention required to mitigate damages caused by

the Defendants;

                F) The Plaintiff has had to reassign its Managers to tasks related to mitigating

damages caused by the Defendants increasing its labor costs;

                G) The Plaintiff has lost a significant amount of money in its valuation as a going

concern;

                H) The Plaintiff has had to institute this legal action to collect damages due to the

wrongful refusal of the Defendant to pay the same. As a result, the Plaintiff has suffered a cost

related to the time value of money at its applicable borrowing rate;
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               I) The Plaintiff has been required to hire attorneys to prosecute this claim, as well

as incur other costs related to the lawsuit;

               J) Additional Damages either unknown or still accumulating;

       112) The Defendant’s wrongful acts are characterized by wantonness, malice, oppression

and other circumstances of aggravation. The pattern of conduct by the defendants were

motivated by more than mere ignorance or oversight, but by personal gain.

       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendants, Jamie Warmbir and Warmbir IT Solutions, LLC, as follows:

               a) a preliminary and permanent injunction preventing the Defendant from

continuing to violate the Illinois Trade Secrets Act;

               b) for actual damages suffered by the Plaintiff in an amount not less than

       $2,778,413.00;

               c) for punitive damages in an amount to be determined;

               d) for interest;

               e) for attorney’s fees and costs of suit;

               f) for other relief the Court deems appropriate;



                                               COUNT VI:

          TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

          AGAINST JAMIE WARMBIR AND WARMBIR IT SOLUTIONS, LLC

       113) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.
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       114) Plaintiffs had valid and enforceable contracts with its customers that Jamie

Warmbir and Warmbir IT Solutions, LLC have either attempted to appropriate to themselves or

have appropriated to themselves.

       115) Prior to any dates of termination, Plaintiff had performed the obligations under the

contracts and had a reasonable basis to receive the benefits described therein.

       116) Jamie Warmbir had prepared and executed most of the contracts for the customers

of Mavidea while a Manager of Mavidea. He was aware of all customer contracts. Warmbir IT

Solutions, LLC, through the knowledge of its owner/manager, Jamie Warmbir, also had the same

knowledge.

       117) Defendant intentionally and without legal justification induced a breach of the

contract, thereby interfering with Plaintiff’s rights under the contracts.

       118) The contracts were, in fact, subsequently terminated.

       119) As a result of Defendants’ wrongful conduct and the resulting terminations of the

contracts, the Plaintiff has suffered damages, and are suffering ongoing damages.

       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Jamie Warmbir and Warmbir IT Solutions, LLC, as follows:

               a) for actual damages suffered by the Plaintiff in an amount not less than

$2,778,413.00;

               b) for punitive damages in an amount to be determined;

               c) for interest;

               d) for attorney’s fees and costs of suit;

               e) for other relief the Court deems appropriate;
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                                           COUNT VII:

   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

           AGAINST JAMIE WARMBIR AND WARMBIR IT SOLUTIONS, LLC

       120) Mavidea repeats and realleges each and every allegation contained in Paragraphs 1

through 56 of the Complaint as if set forth fully herein.

       121) Plaintiff reasonably expected to enter into a valid business relationship with the

businesses described on its confidential client tracking list.

       122) Defendants, Jamie Warmbir and Warmbir IT Solutions, LLC had knowledge of

Plaintiff’s expectancy.

       123) Defendants intentionally and unjustifiably interfered with Plaintiff’s expectancy by

directly and indirectly encouraging them to convert their business to Warmbir IT Solutions, LLC

and by the other acts described herein.

       124) As a result of Defendants interference, Plaintiff failed to realize its expectancy on

these customers.

       125) Defendants’ interference with Plaintiff’s expectancy was willful, wanton and

knowing.

       126) As a result of Defendants’ wrongful interference with Plaintiff’s expectancy,

Plaintiff has suffered damages in an amount to be determined through discovery and at the time

of trial, but in an amount to exceed $2,778,413.00.

       WHEREFORE, the Plaintiff prays this Court enter judgment in its favor and against the

Defendant, Jamie Warmbir and Warmbir IT Solutions, LLC, as follows:

               a) for actual damages suffered by the Plaintiff in an amount not less than

$2,778,413.00;
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       b) for punitive damages in an amount to be determined;

       c) for interest;

       d) for attorney’s fees and costs of suit;

       e) for other relief the Court deems appropriate;



                                               Respectfully Submitted,

                                               Bartell Powell LLP

                                               /s/ Jason S. Bartell
                                               Jason S. Bartell, a partner of the firm

                                               ATTORNEYS FOR THE PLAINTIFF




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